          Case 1:23-cr-00181-DMT Document 59 Filed 10/16/23 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                      )
                                               )      PRETRIAL STATUS CONFERENCE
               Plaintiff,                      )
                                               )
       vs.                                     )
                                               )      Case No.: 1:23-cr-181
Dylan Day-John Tucker, Jr.,                    )
                                               )
               Defendant.                      )


       The undersigned shall hold a pretrial status conference with counsel by telephone on

November 8, 2023, at 10:00 AM to discuss, among other things, the viability of the current trial date.

To participate, counsel shall call (877) 810-9415 and enter access code 8992581. Counsel are

strongly encouraged to consult with each other prior to the conference. This will enable the

conference to progress more expeditiously.

       IT IS SO ORDERED.

       Dated this 16th day of October, 2023.

                                               /s/ Clare R. Hochhalter
                                               Clare R. Hochhalter, Magistrate Judge
                                               United States District Court
